
The Disciplinary Review Board having filed with the Court its decision in DRB 16-385, concluding that CHRISTOPHER WEST HYDE of NEWTON, who was admitted to the bar of this State in 1987, should be censured for violating RPC 1.5(b) (failure to set forth in writing the basis or rate of a fee) and RPC 8.1(b) (failure to cooperate with an ethics investigation), and good cause appearing;
It is ORDERED that CHRISTOPHER WEST HYDE is hereby censured; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
